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                                                                architrave

                                                                     ji-ieze
                                                     pediment

                                                                        cornzce




                                                                     EXHIBIT S

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                                                                                                                                                   CCI0008810
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exploratory


                                                                                                                            undertalcing the transport of p ackages e
  EXPRESSIONISM                                                                                                             send by express messenger or delive' tc. • v.1,
                                                                                                                            press·ly adv. (in senses 2 and 3a of adj.)ry. oo e,,.
  Expressionism is an artistic concept that
                                                                                                                           ex·pres·sion / iksp:esh;m/ n. I the act
  distorts the representation of reality to                                                                                 mstance of expressmg. 2 a a word or hr or an
  express an inner vision. This approach                                                                                    pressed. b manner or means of              P ase
  is the direct opposite of that adopted                                                                                    language; wording; diction. 3 1\!fath. a
  by the Impressionists, who placed a                                                                                       symbols expressing a quantity. 4 a
  strong emphasis on imitating nature.                                                                                      appearance or intonation of voice, esp.
  Expressionism is particularly associated                                                                                  ing feeling. 5 depiction of feeling, move as
                                                                                                                            in art. 6 conveying of feeling in the perfoment, etc:.,
  with an early-20th-century artistic                                                                                       a piece of music. DD ex·pres-sion·al adjrrnance of
  movement in northern and central                                                                                          sion ·less aljf. ex·pres·sion-less.Iy adv · ex.pres.
  Europe. Germany became the center of                                                                                      sion.Jess·ness n.                          · e~·pres.
  expr essionism, and one of the leading                                                                                   ex·I?rt;s·sion·ism / ikspreshonizom/ n. <li a style
  expressionist groups, Der Blaue Reiter                                                                                     p a.m t.m g, mus1c, drama, etc., in which an           . of
                                                                                                                                 .        k                    . I              artist
                                                                                                                             wnter. see ·s t~ express emotiona experience rath0 r
  (''The Blue Rider"), whose leaders
  included Wassily Kandinsky and Paul                                                                                        than u:1Pr~ss10ns of the external world. 00 eer
  Klee, was formed there. In literature,                                                                                     pres·s1on·1st n. & mfJ. ex·pres·sion·is·t' '<·
                                                                                                                             ex·pres·sion·is·ti·cal·ly adv.                       •c ad;.
  expressionism is seen as a revolt against
                                                                                                                           ex·pres.sive / ikspresiv/ adj. I full of express'
  realism and naturalism, and writers                                                                                        expressive look). 2 (foll. by ef) serving to express'(~o~an
  such as August Strindberg, Franz Kafka,
  andJamesJoyce were associated with
                                                                                                                             expwswe '}/ contempt) . DD e~·p~es.sive·ly 0 5           J
                                                                                                                             ex·pres·stve·ness n. ex·pres·SIV·I·ty I -sivitee / n~
  the movement.                                                                                                            ex-preS·SO var. of ESPRESSO.
                                                                                                                           ex·press train n. a fast train, stopping at few inter-
                                                                                                                             mediate statmns.
             Self-portrait Screaming (1910),                                                                               ex·press·way /ikspresway I n. a divided highi
                     E G ON S CH IELE                                                                                        for high-speed traffic.                                  vay
                                                                                                                           ex·pro·pri·ate I ekspr6preeayt/ v.tr. 1 take awa
    TIME LINE                                                                                                                (property) from its owner. 2 (foll . byfrom ) disposses y
                                                                                                                             DD ex·pro·pri·a·tion / -ayshon/ n. ex·pro·pri.~:
  1500       1550       1600        1650       1700       1750       1800       1850       1900       1950       2000        tor n.
                                                                                                                           ex·pul-sion / ikspulshon/ n. the act or an instance
                                                                                                                             of expelling; the process of being expelled.
ex-plor-a-to-ry / iksplawrotawree/ adj. I (of discus-          ble; risky. 4 Photog subj ect (film) to light, esp. by        D D ex·pul·sive / -pulsiv I adj.
 sion, etc.) preliminaty 2 of or concerning explo-             operation of a cam era. 5 reveal the identity or fact
                                                                                                                           ex·punge /ikspunj/ v.tr. (foll. by from) erase; remove
 ration or investigation (exploratory surgery).                of (esp. a person or thing disapproved of or guilty           (esp. a passage from a book or a name from a list).
ex·plore /iksplawr I v.tr. I travel through (a country,        of crime, etc.). 6 disclose; make public. 7 exhibit;          DD ex·pung·er n.
 etc.) in order to learn about it. 2 inquire into.             display. 8 put up for sale. D expose oneself
                                                                                                                           ex·pur·gate I eksporgayt/ v.tr. 1 remove matter
 3 Surgery examine (a part of the body) in detail.             display one's body, esp. the genitals, publicly and
                                                                                                                             thought to be objectionable from (a book, etc.).
 DD ex·plor·a·tive / -rotivI adj. ex-plor·er /iks-             indecently. D D ex·pOS·er n.
                                                                                                                             2 remove (such matter). DD ex·p ur·ga·tion
 plawror / n.                                                 ex·pos·e / ekspOzay/ n. (also ex·pose) 1 an orderly            / -gayshon / n. ex-pur·ga·tor n.
ex·plo.sion /ikspl6;ID:m/ n. 1 the act or an instance          statement of facts. 2 the act or an instance of             ex·quis-ite I ekskwizit, ikskwizit/ adj. & 11 . 1 adj.
 of exploding. 2 a loud noise caused by something              revealing something discreditable.                            1 extremely beautiful or delicate. 2 acute; keenly
 exploding. 3 a a sudden outburst of noise. h a               ex·po·si·tion I ekspn ishon / n. 1 an explanatory              felt (exquisite pleasure). 3 a keen; highly sensitive or
 sudden outbreak of feeling, esp. anger. 4 a rapid or          statement or account. 2 a n explanation or com-               discriminating (exquisite taste). b elaborately de1:ised
 sudden increase.                                              mentary. 3 1\!fus. the part of a movement in which            or accomplished; consunnnate; perfect. o n. a
ex·plo·sive / ikspl6siv/ adj. & n. • adj. 1 able or            the principal them es are first presented. 4 a large          person of refined {esp. affected) tastes. D D ex·quis·
 tending or likely to explode. 2 likely to cause a             public exhibition. DD ex·po·si·tion·al adj.                   ite·ly adv. ex-quis·ite·ness n.
 violen t outburst, etc.; (of a situation, etc.) danger-      ex·pos-i-tor /iksp6zit~r / n. an expounder or inter-         ex-serv·ice I eks-sorvis/ adj. Brit. 1 having formerly
 ously tense. • n. an explosive substance. DD ex·              preter. DD ex·pos·i·tO·ry a<[j.                               been a member of the armed forces. 2 relating to
 plo·sive-ly adv. ex-plo·sive·ness n.                         ex·pos·tu·late / iksp 6scholayt/ v.intr. {often foll. by       former servicemen and -women.
ex·po /ekspo/ n. (also Ex·po) (pl. -os) a large inter-         with a p erson) make a protest; remonstrate.                ex-serv·ice·man I eks-sorvism:in/ n. (pl. -men) a
 national exhibition.                                          DD ex·pos·tu-la·tion /-layshon/ n. ex·pos·tu·la-              former member of the armed forces.
ex·po·nent /iksp6nont/ n. 1 a person who favors or             to·ry /-btawree/ adj.                                       ex-serv·ice·wom.an I eks-sorviswoomon/ n. (pl.
 promotes an idea, etc. 2 a representative or practi-         ex·po·sure /ikspo,i;hor/ n. 1 (foll. by to) the act or         -women) a former woman member of the armed
 tioner of an activity, profession, etc. 3 a person who        condition of exp osing or being exposed. 2 the                fo rces.
 explains or interprets something. 4 M ath. a raised           condition of being exposed to the elements, esp. in         ex.tant /ekst:mt, ekstimt/ adj. (esp. of a document,
 symbol or expression beside a numeral indicating              severe conditions (died.from exposure). 3 the revelation      etc.) still existing; surviving.
 how many times it is to be multiplied by itself (e.g.,        of an identity or fact, esp. when concealed or likely       ex·tem·po·ra·ne·ous / iksti:mporayn eeos/ aefi spo-
 2' = 2 x 2 x 2).                                              to find disapproval. 4 Photog. a the action of expos-         ken or done without preparation. DD ex·tem·pO·
ex·po·nen·tial I eksp:mensh;ll/ adj. 1 M ath. of or in-        ing film, etc., to the light. b the duration of this          ra-ne·ous-ly adv.
 dicated by a mathematical exponent. 2 (of an in-              action. c the area of film , etc., affected by it. 5 an     ex-tem·po·rar·y / ikstempo>reree/ adj. = '-""'"'("
 crease, etc.) more and more rapid. oo ex·po·nen·              aspect or outlook (has a.fine southern exposure). 6 ex-       RANEOUs. D D ex·tem·po·rar·i·ly / -rairolee / ad1.'.
 tial-ly adv.                                                  perience, esp. of a specified kind of work.                 ex·tem·po·re / ikstemporee/ aqj. & adv. 1 without
ex·port v. & n. • v.tr. I ekspawrt, eks-/ send out            ex·pound / iksp6wnd/ v.tr. 1 set out in detail (a doc-         preparation. 2 oflhand.
 (goods or services) esp. for sale in a nother country.        trine, etc.). 2 explain or interpret. DD expound.er n.      e x·tem·po·r ize /ikstemponz/ v.tr. (also absol.) com-
 • n. I ekspawrt/ 1 the process of exporting. 2 a an          ex.press 1 /ikspres/ v. tr. 1 represent or make known          pose or produce (music, a speech, etc.) without prep-
 exported article or service. h (in pl.) an amount             (thought, feelings, etc.) in words or by gestures,            aration; improvise. oo ex·tem-po·ri-za-tion n.
 exported (exports exceeded $50 billion). 3 (attrib.) suit-    conduct, etc. 2 refl. say what one thinks or means.         ex·tend /ikstend/ v. 1 tr. & inti: lengthen or make
 able for export, esp. of better quality. DD ex·port·          3 esp. lvfath. represent by symbols. 4 squeeze out           larger in space or time. 2 a tr. stretch or ]a)· our at
 a.hie aeff. ex·port·a·bihty n. ex·por·ta·tion n.              (liquid or air). DD ex·press·er n. ex·press·i·ble adj.        full length. b tr. & intr. (often foll. by ovei) (ca1iss. 10l
 ex·port·er n.                                                ex·press 2 /ikspres/ aljj., adv., n., & v. • aljj. 1 oper-     stretch or span over a period of time. 3 111/i: <lf 11 ·
ex·pose /iksp6z/ v.tr. 1 leave uncovered or unpro-             ating at high speed. 2 also I ekspres / definitely            (foll. by to, ovet) reach or be or make contntuoUS
 tected, esp. from the weather. 2 (foll . by to) a cause       stated. 3 a done, made, or sent for a sp ecial               over a certain area. 4 intr. (foll. by to) have a ce~ taJIJ
 to be liable to or in danger of (was exposed to great         purpose. b (of messages or goods) delivered by a             scope (the permit does not extend ta campin!f). 5 /I oO~rcoJ.
 danger). b lay open to the action or influence of;            special messenger or service. • adv. I at high speed.         accord (an mvitatmn, hosp1tal1ty, kindness. ' 1 •
 introduce to. 3 (as exposed adj.) a (foll. by to) open        2 by express messenger or train. • n. 1 a an express          6 tr. (usu. refL or in passive) tax the powers or (~ 11
 to; unprotected from (exposed to the east). b vulnera-        train or m essenger. b an express rifle. 2 a company         athlete, horse, etc.) to the utmost. D D ex· tend a· b e


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                                                                                                                                                                       CCI0008811
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ex<ended family                                                                                                                                                           exuberant


 ad! ex·tend·a·bil·i·ty n. ex·tend·i·ble          ex· tend·    light, etc.) to die out; put out. 2 make extinct; anni-          admiration. 4 a (of an official, etc.) additional;
 i.hihty n. ex·ten·si.ble /-stensibol/              ex·ten·    hilate; destroy. 3 put an end to; terminate; obscure             specially employed (envoy extraordinacy). b (of a meet-
 si b il·i·ty n.                                               utterly (a feeling, quality; etc.). 4 a abolish; wipe out        ing) specially convened. oo ex·traor·di·nar-i·ly
ex·ten d ·ed fam·i-ly n. I a family group that in-             (a debt). b Law render void. 5 colloq. reduce to                 adv. ex·traor·di.nar·i-ness n.
 cludes relatives living in one household. 2 all the           silence (the argument extinguished the opposition). DD ex·      ex·trap·o.Iate /ikstrap:>layt/ v.tr. (also absol.)
 members of a family, including cousins, in-laws,              tin·guish.a.ble adj. ex·tin.guish·ment n.                        1 ]1,1.ath. & Philos. a calculate approximately from
 etc.                                                         ex·tin·guish·er /ikstinggw:ishor/ n. a person or                  known values, data, etc. (others which lie outside
ex·ten d ·ed-play adj. (of a phonograph record)                thing that extinguishes, esp. =FIRE EXTINGUISHER.                the range of those known). b calculate on the basis
 playing for longer than most singles, usu. at 45             ex·tir·pate I ekstorpayt/ v.tr. root out; destroy                 of (known facts) to estimate unknown facts, esp.
          (of a videocassette recording) playing at the        completely. DD ex·tir·pa·tion /-paysh;m/ n. ex.tir·              extend (a curve) on a graph. 2 infer more widely
           recordable speed.                                   pa·tor n.                                                        from a limited range of known facts. oo ex·
ex·ten d ·er /ikstendor/ n. 1 a person or thing that          ex·tol /ikst61/ v.ti: (extolled, extolling) praise                trap·o·la·tion /-layshon/ n. ex·trap·o·la·tive adj.
 extends. 2 a substance added to paint, ink, glue,             enthusiastically:                                               ex·tra·sen·SO·ry I ekstrosensJree/ adj. derived by
 etc .. to dilute its color or increase its bulk.             ex·tort /ikstawrt/ v.tr. obtain by force, threats,                means other than the known senses, e.g., by telep-
ex·ten·sion I ikstenshon/ n. 1 the act or an instance          persistent demands, etc.                                         athy, clairvoyance, etc.
                                                                                                                               ex·tra·sen·So·ry per·cep·tion n. a person)s
 of extending; the process of being extended.
 2 prolongation; enlargement. 3 a part enlarging or
                                                              ex·tor·tion /ikstawrshJn/ n. 1 the act or an
                                                               instance of extorting, esp. money. 2 illegal exac-               supposed faculty of perceiving by such means.               E
 added on to a main structure or building. 4 an                tion. oo ex·tOr·tion·er n. ex·tor·tion-ist n.                   ex·tra·ter·res·tri·al I ekstrot::irestreeol/ adj. & n.
 additional part of anything. 5 a a subsidiary tele-          ex·tor·tion·ate I ikstawrshJnot/ adj. (of a price,                • aqj. I outside the Earth or its atmosphere. 2 (in
 phone on the same line as the main one. b its                 etc.) exorbitant. DD ex·tOr·tion·ate,ly adv.                     science fiction) from outer space. • n. (in science
 number. 6 a an additional period of time.                    ex·tra I ekstro/ adj., adv., & n. • adj. additional; more         fiction) a being from outer space.
 b permission for the sale of alcoholic drinks until           than is usual or necessary or expected. • adv.                  ex·trav·a·gant /ikstravogont/ adj. 1 spending (esp.
 later than usual, granted to licensed premises on             I more than usually. 2 additionally (was charged                 money) excessively; immoderate or wasteful in use
 special occasions. 7 extramural instruction by a              extra). • n. 1 an extra thing. 2 a thing for which an            of resources. 2 exorbitant; costing much. 3 exceed-
 university or college (extension course). 8 extent;           extra charge is made; such a charge. 3 a person                  ing normal restraint or sense; unreasonable; absurd
 range. oo ex-ten·sion·al arfj.                                engaged temporarily to fill out a scene in a motion              (extravagant claims). DD ex·tra·va·gance /ikstravo-
ex·ten·s ive /ikstensiv/ adj. 1 covering a large area          picture or play, esp. as one of a crowd. 4 a special             gons/ n. ex·trav·a·gant·ly adv.
 in          or time. 2 having a wide scope; far-reach-        issue of a newspaper, etc.                                      ex·trav·a·gan.za /ikstravJganzo/ n. 1 a fanciful
 ing. Agn'culture involving cultivation from a large          extra- I ekstro/ comb. form 1 outside; beyond (extra-             literary, musical, or dramatic composition. 2 a
 areal with a minimum of special resources. DD ex·             marital). 2 beyond the scope of (extracurricular).               spectacular theatrical or television production.
 ten ·sive·ly adv. ex·ten·sive·ness n.                        ex·tract v. & n. • v.ti: /ikstrakt/ I remove or take             ex·treme /ikstre'em/ adj. & n. • adj. 1 reaching a
ex·t en ·sor I ikstensor I n. (in full extensor muscle)        out, esp. by effort or force (anything firmly rooted).           high or the highest degree; exceedingly great or
 Anat. a muscle that extends or straightens out part           2 obtain (money, an admission, etc.) with difficulty             intense (extreme old age; in extreme dangei). 2 a severe;
 of the body (cf.                                              or against a person's will. 3 obtain (a natural                  stringent; lacking restraint or moderation (take extreme
ex·t ent /ikstent/ n. I         space over which a thing       resource) from the earth. 4 select or reproduce for              measures; an extreme reaction). b (of a person, opinion,
 extends. 2 the width or limits of application; scope          quotation or performance (a passage of writing,                  etc.) going to great lengths; advocating immoderate
 (to a great extent).                                          music, etc.). 5 obtain (juice, etc.) by suction, pres-           measures. 3 outermost (the extreme edge). 4 Polit. on
ex·ten·u ·ate /ikstenyoo-ayt/ v.tr. (often as extenu-          sure, distillation, etc. 6 derive (pleasure, etc.).              the far left or right of a party. 5 utmost; last. • n.
 ating adj.) lessen the seeming seriousness of (guilt          7 i'vfath. find (the root of a number). • n. I ekstrakt/         1 (often in pl.) one or other of two things as remote
 or an offense) by reference to some mitigating                I a short passage taken from a book, piece of                    or as different as possible. 2 a thing at either end
 factor. DD ex·ten·U·adng·ly adv. ex·ten·u·a·tion              1nusic, etc.; an excerpt. 2 a preparation containing             of anything. 3 the highest degree of anything.
  /-ayshon/ n. ex·ten·u·a·to·ry I -yoo;:itawree/ adj.          the active principle of a substance in concentrated              4 Math. the first or the last term of a ratio or series.
ex·t e·ri-o r /ikste'ereeor I adj. & n. • adj. 1 a of or on    form (malt extract). DD ex·tract·a·ble adj.                      o go to extremes take an extreme course of
 the outer side (opp. INTERloR). b (foll. by to) situated     ex·trac·tion I ikstrakshon/ n. I the act or an                    action. go to the other extreme take a diamet-
 on the outside of (a building, etc.). c coming from           instance of extracting; the process of being                     rically opposite course of action. in the extreme
  outside. 2 Cinematog. outdoor. • n. 1 the outward            extracted. 2 the removal of a tooth. 3 origin;                   to an extreme degree. o o ex·treme-ly adv. ex·
 aspect or surface of a building, etc. 2 the apparent          lineage; descent (ef German extraction). 4 something             treme·ness n.
 beha\rior or demeanor of a person. 3 Cinematog. an            extracted; an extract.                                          ex·trem.ist /ikstre'emist/ n. (also attrib.) a person
 outdoor scene. oo ex·te·ri·Or·i·ty /-ree-8..writee,          ex·trac·tive /ikstraktiv/ adj. of or involving extrac-            who holds extreme or fanatical political or religious
  ~ree-6r-/ n. ex.te-ri·or·ize v.ti: ex·te·ri·or-ly adv.       tion, esp. extensive extracting of natural resources             views. oo ex·trem·ism n.
ex·teir·mi·n ate /ikst;Jrminayt/ v.ti: 1 destroy utterly       without provision for their renewal.                            ex·trem·i·ty /ikstremitee/ n. (pl. -ies) 1 the
  (esp. something living). 2 get rid of; eliminate (a         ex·trac·tor /ikstraktJr/ n. 1 a person or machine                 extreme point; the very end. 2 (in pl.) the hands and
 pest, disease, etc.). DD ex·ter·mi·na·tion /-naysh:m/         that extracts. 2 (att1ib.) (of a device) that extracts           feet. 3 a condition of extreme adversity or diffi-
  n. ex·t er ·mi·na·tor n. ex·ter·mi-na·to·ry /-n;Jtaw-        bad air, etc., or ventilates a room (extractorfan).              culty. 4 excessiveness; extremeness.
 ree/ adf.                                                    ex·tra·cur·rku·lar /ekstJ·Jbrikyobr/ adj. (of a                  ex.tre·mum /ikstre'em;,m/ n. (pl. ex·tre·ma
ex.teir·n a l /ikstornol/ aqj. & n. • adj. 1 a of or situ-     subject of study) not included in the normal                      /-mo/) 1Wath. the maximum or minimum value of
 ated on the outside or visible part. b coming or              curriculun1.                                                     a function. oo ex·tre·mal adj.
 ~enved from the outside or an outside source.                ex·tra·dit·a·hle I ekstrodnob;il/ adj. 1 liable to               ex·tri-cate I ekstrikayt/ v.tr. (often foll. hy ftom) free
    relatrng to a country's foreign affairs. 3 outside         extradition. 2 (of a crime) warranting extradition.              or disentangle from a constraint or difficulty.
 the conscious subject (the external world). 4 (of medi-      ex·tra·dite I ekstrodn/ v.ti: hand over (a person                 oo ex·tri·ca·ble adj. ex·tri·ca.tion /-kayshJn/ n.
 cine, etc.) for use on the outside of the body. 5 for         accused or convicted of a crime) to the country,                ex·trin·sic I ekstrinsik, -zik/ adj. I not inherent or
 or concerning students taking the examinations of             state, etc., in which the crime was committed.                   intrinsic; not essential (opp. INTRINs1c). 2 (often foll.
 a umversity without attending it. • n. (in pl.) 1 the         oo ex·tra·di-tion n.                                             by to) extraneons; lying outside; not belonging (to).
 outward features or aspect. 2 external circum-               ex·tra·mar·hal I ekstromarit'l/ adj. (esp. of sexual              3 originating or operating from without. oo ex·
 :tances. 3 inessentials. oo ex·ter·nal·i-ty /-nali-           relations) occurring outside marriage. oo ex·tra·                 trin·si·cal·ly adv.
  ee/ n. (jJI. -ies). ex·ter·naHy adv.                         mar-i·tally adv.                                                ex.tro·vert I ekstrovort/ n. & adj. • n. I Psycho!. a
e>:·t er ·naH ze /ilrnt;lrnolrz/ v.ti: give or attribute      ex·tra·mu·ral I ekstromyii'orJl/ adj. 1 taught or                 person predominantly concerned with external
 external existence to. oo ex·ter·na1..i-za·tion n.             conducted off the premises of a university, college,             things or objective considerations. 2 an outgoing or
•X·tinct    /ikstingkt/
                  ,       adj. 1 (of a family, class, or                                                                        sociable person. • aqj. typical or characteristic of
 sp .                                                          or school. 2 additional to normal teaching or stud-
 lo eoes) that has died out. 2 a (of fire, etc.) no            ies, esp. for nonresident students. o o ex-tra.mu·                an extrovert. oo ex-tro·ver·sion I -v;1rID;;)n/ n. ex.
    nger burning. b (of a volcano) that no longer              raJ.ly adv.                                                       tro·vert·ed adj.
 ~'(~ts. 3 (of life, hope, etc.) terminated; quenched.        ex·tra·ne·ous /ikstrayneeos/ adj. I of external                  ex·trude /ikstro'od/ v.tr. 1 (foll. by fi·om) thrust or
 ity)oh an office, etc.) obsolete. 5 (of a title of nobil-      origin. 2 (often foll. by to) a separate from the object        force out. 2 shape metal, plastics, etc., by forcing
         a\~ng no qualified claimant                            to which it is attached, etc. b external to; irrelevant          them through a die. oo ex·tru·sion /-tro'omon/ n.
C)(·tinc ti      /ik ,                .
 exr · on           stmgkshon/ n. 1 the act of making           or unrelated to. c inessential; superfluous. oo ex·              ex·tru·sile /-tro'os:>l, -sII/ adj. ex.tru·sive /-tro'o-
 eiqlllct; the state of being or process of becoming            tra-ne·ous·ly adv. ex·tra-ne·ous·ness n.                         siv/ adj.
 b .met. 2 the act of extinguishing· the state of             ex·traor·di·nar·y /ikstrawrd'neree, ekstr;iawr-/                 ex·u·ber·ant /igzo'obor;int/ adj. I livel1; high-spir-
 ti~lllg extinguished, 3 total destructi;n or annihila-         adj. 1 unusual or remarkable; out of the usual                   ited. 2 (of a plant, etc.) prolific; growing copiously.
      n. Do ex-tinc·tive                                        course. 2 unusually              (an                talent).     3 (of feelings,          abonnding; lavish; effusive.



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